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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                            Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                               MDL No. 2570


This Document Relates to
Plaintiff JOHN STEWART


Civil Case # 1:19-cv-2454

                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

           John Stewart

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:

           N/A

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

           N/A

       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:

           Colorado

       5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

           Colorado
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     6. Plaintiff’s/Deceased Party’s current state of residence:

        Colorado

     7. District Court and Division in which venue would be proper absent direct filing:

        United States District Court for the District of Colorado

     8. Defendants (Check Defendants against whom Complaint is made):

            Cook Incorporated

            Cook Medical, LLC

            William Cook Europe ApS

     9. Basis of Jurisdiction:

            Diversity of Citizenship

            Other:

     a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

        1-28




     b. Other allegations of jurisdiction and venue:

        N/A




     10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

        (Check applicable Inferior Vena Cava Filters):

            Günther Tulip® Vena Cava Filter

            Cook Celect® Vena Cava Filter




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            Gunther Tulip Mreye

            Cook Celect Platinum

            Other:



     11. Date of Implantation as to each product:

     November 17, 2009



     12. Hospital(s) where Plaintiff was implanted (including City and State):

     Memorial Hospital Colorado, 1400 East Boulder St., Colorado Springs, CO 80909



     13. Implanting Physician(s):

     Dr. Scott Hurlbert



     14. Counts in the Master Complaint brought by Plaintiff(s):

            Count I – Strict Products Liability – Failure to Warn

            Count II – Strict Products Liability – Design Defect

            Count III – Negligence

            Count IV – Negligence Per Se

            Count V – Breach of Express Warranty

            Count VI – Breach of Implied Warranty

            Count VII – Violations of Applicable Colorado           (insert State) Law

     Prohibiting Consumer Fraud and Unfair and Deceptive Trade Practices

            Count VIII – Loss of Consortium




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              Count IX – Wrongful Death

              Count X – Survival

              Count XI – Punitive Damages

              Other __________________ (please state the facts supporting this Count in the

              space, immediately below)

              Other __________________ (please state the facts supporting this Count in the

              space, immediately below)




       15. Attorney for Plaintiff(s):

       Grant L. Davis and Thomas E. Ruzicka

       16. Address and bar information for Attorney for Plaintiff(s):

       Davis, Bethune & Jones, LLC, 1100 Main Street, Suite 2930, Kansas City, MO 64105

       Grant L. Davis, MO #34799 and Thomas E. Ruzicka, MO #63584



Dated: June 18, 2019

                                             Respectfully submitted,

                                             DAVIS BETHUNE & JONES, LLC

                                             /s/ Grant L. Davis
                                             Grant L. Davis        MO #34799
                                             Thomas E. Ruzicka MO #63584
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                                             truzicka@dbjlaw.net

                                             ATTORNEYS FOR PLAINTIFF



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